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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                                    ORLANDO DIVISION


UNITED STATES OF AMERICA

v.                                                                                            Case No. 6:07-cr-107-Orl-28GJK

EVELYN COLON-ROCHE

 JUDGE:                            John Antoon II                   COUNSEL FOR GOVT:                 Bruce S. Ambrose

 DEPUTY CLERK:                     Darleen Darley                   COUNSEL FOR DEFT(S):              Darlene Calzon Barror

 COURT REPORTER:                   Anthony Rolland                  PRETRIAL/PROBATION:               Sally Stanis

 DATE/TIME:                        February 15, 2008                INTERPRETER:                      Laura Cruz/Spanish
                                   11:00-11:45 a.m.


                                  CLERK’S MINUTES ON CRIMINAL SENTENCING

Defendant is adjudged guilty on Count One of the First Superseding Information.
Motion for Court to recognize defendant’s substantial assistance (Doc. No. 766)    Granted.
IMPRISONMENT:         19 Months.
Court Recommends:      That defendant be incarcerated at FCI Coleman, Florida
Supervised Release:    3 Years.
MANDATORY DRUG TESTING requirements are: Imposed.
Special Conditions of Supervised Release are:
        Participate in a program for mental health treatment and contribute to costs of program.
        Community Service Program:       Perform 150 hours in lieu of paying a fine.
        Cooperate in the collection of DNA as directed by the Probation Officer.
Fine and costs of imprisonment/supervision:     Waived.
Special Assessment:    $100.00.
DISMISSED COUNTS:          Count One of the Indictment is dismissed on the motion of U.S. Attorney.
Defendant is remanded to the custody of the U.S. Marshal.
Additional remarks:   Defendant is advised of right to appeal.
